         Case 1:09-cr-00940-VSB Document 56 Filed 05/08/12 Page 1 of 9



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------ x
                                 :
UNITED STATES OF AMERICA         :
                                 :
               - v. -            :              09 Cr. 940 (TPG)
                                 :
SHIRIN KALIMI,                   :
 a/k/a “Shirin Siouny,”          :
                                 :
                      Defendant. :
------------------------------ x



                  GOVERNMENT’S SENTENCING MEMORANDUM




                                                PREET BHARARA
                                                United States Attorney for the
                                                Southern District of New York
                                                One St. Andrew’s Plaza
                                                New York, New York 10007



Amy Lester
Assistant United States Attorney
       -Of Counsel-
          Case 1:09-cr-00940-VSB Document 56 Filed 05/08/12 Page 2 of 9



               The Government respectfully submits this memorandum in connection with the

sentencing of defendant Shirin Kalimi, a/k/a “Shirin Siouny,” which is scheduled to take place on

May 11, 2012, at 4:00 p.m. For the reasons set forth below, the Court should sentence the

defendant to a term of imprisonment within the applicable advisory Sentencing Guidelines range

and impose restitution in an amount to be determined within the statutorily prescribed time

period.

                                        BACKGROUND

               In October 2009, the defendant and her co-conspirators were arrested and charged

with committing mortgage fraud. Specifically, Indictment 09 Cr. 940 (TPG) charged the

defendant with engaging in a conspiracy to commit wire fraud, in violation of Title 18, United

States Code, Section 1349, and ten substantive counts of wire fraud, in violation of Title 18,

United States Code, Section 1343. As alleged in the Indictment and outlined in the PSR, the

charged mortgage fraud conspiracy revolved around a scheme in which the defendants acquired

properties at auction for a low price and then obtained home mortgage loans for straw purchasers

to buy those properties through the submission of false and fraudulent documentation to various

lenders. (Indictment ¶¶ 8-15; PSR ¶¶ 27-34). In so doing, the defendants fraudulently induced

lenders to make loans to persons and at terms which they otherwise would not have funded.

(Indictment ¶ 7; PSR ¶ 26). The defendants then used the difference between the original

purchase price at auction and the inflated home mortgage loan price to enrich themselves.

(Indictment ¶ 16; PSR ¶ 35). During the course of the conspiracy, the defendants obtained home

mortgage loans with a combined face value of over $6.8 million. (Indictment ¶ 6; PSR ¶ 51). As

a result of the straw buyers’ inability to repay the loans, the lenders suffered losses of between $1


                                                  2
            Case 1:09-cr-00940-VSB Document 56 Filed 05/08/12 Page 3 of 9



and $2.5 million. (PSR ¶ 51).

                On September 26, 2011, the defendant pled guilty to Count One of the Indictment

pursuant to a Plea Agreement with the Government. Under the terms of the Plea Agreement, the

parties agreed that, pursuant to the United States Sentencing Guidelines (the “Guidelines” or

“U.S.S.G.”) the advisory sentencing range for the defendant was a term of 27 to 33 months’

imprisonment. This Guidelines calculation was based on an agreed-upon loss amount of between

$1 and $2.5 million, and a two-level reduction in the defendant’s offense level, due to her role as

a minor participant in the conduct charged in Count One, pursuant to U.S.S.G. § 3B1.2(b). The

Presentence Investigation Report prepared by the United States Probation Office concurs with

these calculations and recommends a below-Guidelines sentence of one year and one day in

prison. (PSR at 29 (Sentencing Recommendation)).

                                          ARGUMENT

                As discussed below, the Government respectfully submits that application of the

statutory sentencing factors set forth in Title 18, United States Code, Section 3553(a) to the

defendant’s conduct calls for the imposition of a sentence within the advisory Guidelines range.

In addition, the Government requests that the Court impose restitution within 90 days of

sentencing, for which the defendant should be jointly and severally liable with her co-

conspirators.

I.     A Guidelines Sentence Would Be Sufficient, But Not Greater than Necessary, to
       Address the Statutory Goals of Sentencing

       A.       Applicable Law

                The advisory Sentencing Guidelines promote the “basic aim” of Congress in



                                                 3
          Case 1:09-cr-00940-VSB Document 56 Filed 05/08/12 Page 4 of 9



enacting the Sentencing Reform Act, namely, “ensuring similar sentences for those who have

committed similar crimes in similar ways.” United States v. Booker, 543 U.S. 220, 252 (2005).

Thus, the Guidelines are more than “a body of casual advice, to be consulted or overlooked at the

whim of a sentencing judge.” United States v. Crosby, 397 F.3d 103, 113 (2d Cir. 2005). The

applicable Sentencing Guidelines range “will be a benchmark or a point of reference or

departure” when considering a particular sentence to impose. United States v. Rubenstein, 403

F.3d 93, 98-99 (2d Cir. 2005).

               In furtherance of that goal, a sentencing court is required to “consider the

Guidelines ‘sentencing range established for . . . the applicable category of offense committed by

the applicable category of defendant,’ the pertinent Sentencing Commission policy statements,

the need to avoid unwarranted sentencing disparities, and the need to provide restitution to

victims.” Booker, 543 U.S. at 224 (citations omitted).

               Along with the Guidelines, the other factors set forth in Section 3553(a) must be

considered. Section 3553(a) directs the Court to impose a sentence “sufficient, but not greater

than necessary” to comply with the purposes set forth in paragraph two. That sub-paragraph sets

forth the purposes as:

               (A) to reflect the seriousness of the offense, to promote respect for
               the law, and to provide just punishment for the offense;

               (B) to afford adequate deterrence to criminal conduct;

               (C) to protect the public from further crimes of the defendant; and

               (D) to provide the defendant with needed educational or vocational
               training, medical care, or other correctional treatment in the most
               effective manner.



                                                 4
              Case 1:09-cr-00940-VSB Document 56 Filed 05/08/12 Page 5 of 9



18 U.S.C. § 3553(a). Section 3553(a) further directs the Court -- in determining the particular

sentence to impose -- to consider: (1) the nature and circumstances of the offense and the history

and characteristics of the defendant; (2) the statutory purposes noted above; (3) the kinds of

sentences available; (4) the kinds of sentence and the sentencing range as set forth in the

Sentencing Guidelines; (5) the Sentencing Guidelines policy statements; (6) the need to avoid

unwarranted sentencing disparities; and (7) the need to provide restitution to any victims of the

offense. See id.

                 The Second Circuit has instructed that district courts should engage in a three-step

sentencing procedure. See Crosby, 397 F.3d at 103. First, the Court must determine the

applicable Sentencing Guidelines range, and in so doing, “the sentencing judge will be entitled to

find all of the facts that the Guidelines make relevant to the determination of a Guidelines

sentence and all of the facts relevant to the determination of a non-Guidelines sentence.” Id. at

112. Second, the Court must consider whether a departure from that Guidelines range is

appropriate. Id. Third, the Court must consider the Guidelines range, “along with all of the

factors listed in section 3553(a),” and determine the sentence to impose. Id. at 113. In so doing,

it is entirely proper for a judge to take into consideration his or her own sense of what is a fair

and just sentence under all the circumstances. United States v. Jones, 460 F.3d 191, 195 (2d Cir.

2006).

         B.      Discussion

                 In this case, a sentence within the applicable Guidelines range is appropriate,

primarily to reflect the serious nature and circumstances of the defendant’s offense, to provide

adequate deterrence, and to promote respect for the law.


                                                   5
          Case 1:09-cr-00940-VSB Document 56 Filed 05/08/12 Page 6 of 9



               While the Government acknowledges the defendant’s history of good works and

otherwise law-abiding background, as set forth in her sentencing submission, the conduct in this

case stands out as more than a momentary aberration. Rather, it was a scheme that continued for

at least two years, from 2005 through 2007, as charged in the Indictment. The defendant

maintains that she stopped all criminal activity in 2006, but she was charged in connection with

transactions that continued through at least February 2007. (Indictment ¶ 44 (Count Eleven)).

Moreover, the defendant’s role in the conspiracy, to which she pled guilty, was not as minimal as

described in her sentencing submission. The defendant ran the day-to-day operations of the

office through which the co-conspirators processed the fraudulent loan applications. (Indictment

¶ 18). She conferred with the straw buyers, and then prepared and submitted fraudulent loan

applications and false supporting documents to the lenders on their behalf. She altered bank

statements, created fake lease agreements, and false verifications of employment, all so that the

lenders would believe the straw buyers to be credit-worthy and capable of paying back the home

mortgage loans. (PSR ¶ 29). She also created false title documents that misrepresented the

ownership of the properties at issue, in order to induce the lenders to issue the loans. (PSR ¶ 32).

While her role was “minor” as compared to her brother and co-defendant, Danny Siony, who

conceived of the scheme, the defendant played an integral part in the execution and perpetuation

of the fraud on the lenders.

               In addition, while the lenders suffered the financial losses in connection with the

scheme, the defendant’s actions took a very significant toll on the straw buyers who were

recruited to participate in the fraud for the benefit of the defendant and her co-conspirators.

These individuals, most of whom were deceived into purchasing multiple properties that they


                                                  6
           Case 1:09-cr-00940-VSB Document 56 Filed 05/08/12 Page 7 of 9



could not afford, have been devastated financially. Their credit has been ruined and their lives

turned upside down by their involvement in the scheme. The defendant knew that these

individuals could not afford the properties for which she and her co-conspirators obtained loans

on their behalf, but that did not stop her from preparing and submitting false paperwork to the

lenders.

               While the Government agrees with the assessment in the PSR that the defendant

does not appear to pose a high risk of recidivism, a Guidelines sentence is necessary to send a

message of general deterrence to others who, like the defendants in this case, seek to take

advantage of a financial system that does not impose adequate checks and balances on their

conduct. Such a sentence also promotes respect for the law, which is an important and laudable

goal, particularly in cases involving white-collar offenders, who often convince themselves that

their conduct is not unlawful because it does not have any “real” victims and is not causing any

harm.

               For these reasons, a term of imprisonment within the advisory Guidelines range of

27 to 33 months would be sufficient, but not greater than necessary, to meet the statutory goals of

sentencing.

II.     The Court Should Impose Restitution in an Amount to Be Determined Later

               The Mandatory Victims Restitution Act, Section 3663A of Title 18, United States

Code (“MVRA”), requires a sentencing court to order payment of restitution when sentencing a

defendant is convicted of “an offense against property under [Title 18] . . . including any offense

committed by fraud or deceit.” 18 U.S.C. § 3663A(c)(1)(A)(ii). In this case, the defendant was

convicted of a Title 18 offense against property that was committed by fraud -- specifically, wire


                                                 7
          Case 1:09-cr-00940-VSB Document 56 Filed 05/08/12 Page 8 of 9



fraud -- so there can be no dispute that the MVRA applies. See United States v. Cummings, 189

F. Supp. 2d 67, 76 (S.D.N.Y. 2002) (Cote, J.). Thus, the Court is required to “order restitution to

each victim in the full amount of each victim’s losses . . . without consideration of the economic

circumstances of the defendant.” 18 U.S.C. § 3664(f)(1)(A). See United States v. Coriaty, 300

F. 3d 244, 253 (2d Cir. 2002) (observing “the statutory focus on the victim’s losses and upon

making victims whole”).

               Restitution may only be ordered “for losses that [were] . . . directly caused by the

conduct composing the offense of conviction,” United States v. Silkowski, 32 F.3d 682, 689 (2d

Cir.1994), and then, only for the victim’s “actual loss,” United States v. Germosen, 139 F.3d

120, 130 (2d Cir.1998); see also United States v. Carboni, 204 F.3d 39, 47 (2d Cir.2000). The

Government bears the burden of demonstrating the loss amount sustained by the victim as a

result of the offense. 18 U.S.C. § 3664(e). Any dispute as to the proper amount or type of

restitution is to be resolved by the court by the preponderance of the evidence. Id. “Findings of

the amount of loss may be based upon reasonable estimates.” United States v. Agate, 613 F.

Supp.2d 315, (E.D.N.Y. 2009) (citing United States v. Uddin, 551 F.3d 176, 180 (2d Cir. 2009));

United States v. Fogel, 494 F. Supp.2d 136, 138-39 (D. Conn. 2007) (accepting restitution

methodology that “reasonably approximate[d]” the actual loss). At the same time, however, a

restitution award must be based on “more than mere speculation about a victim’s actual loss.”

United State v. Donaghy, 570 F. Supp. 2d 411, 423 (E.D.N.Y. 2008).

               The Government continues to acquire information necessary to determine the

appropriate restitution amount in this case. Accordingly, the Government requests that the Court

set a date for the final determination of the victims’ losses not more than 90 days after


                                                 8
          Case 1:09-cr-00940-VSB Document 56 Filed 05/08/12 Page 9 of 9



sentencing, pursuant to 18 U.S.C. § 3664(d)(5). In advance of that proceeding, the Government

will provide the Court and the defendant with the restitution information.

                                         CONCLUSION

               For the reasons set forth above, the Government respectfully submits that a

sentence within the advisory Guidelines range is appropriate in this case.

Dated: New York, New York
       May 8, 2012
                                             Respectfully submitted,

                                             PREET BHARARA
                                             United States Attorney


                                      By:     s/ Amy Lester
                                             Amy Lester
                                             Assistant United States Attorney
                                             (212) 637-2416




                                                 9
